






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00031-CV






Glyn M. Holliday and Carla S. Nelson, Appellants



v.



Tempest Recovery Service, Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT


NO. GN104065, HONORABLE JOSEPH H. HART, JUDGE PRESIDING 






	Appellants Glyn M. Holliday and Carla S. Nelson and appellee Tempest Recovery
Service, Inc. have filed a joint motion to dispose of their appeal in accordance with an agreement
signed by all parties, informing this Court that the parties have reached a settlement agreement and
appellants no longer wish to pursue this appeal.  In accord with the motion and the terms of the
parties' settlement agreement, this Court grants the parties' motion and vacates (1) the trial court's
order on the motion to dismiss and motion for sanctions of defendant Tempest Recovery Service,
Inc., signed on February 23, 2001, and (2) the trial court's order on plaintiff's amended motion for
rehearing, signed on March 30, 2001.  In addition, we vacate that portion of the trial court's order
on the motion for severance and entry of final judgment of defendant Tempest Recovery Service,
Inc., signed on November 20, 2001, that provides:  "IT IS FURTHER ORDERED that Plaintiff and
her attorney are conditionally granted an additional remittitur, and that in the event that Defendant
Tempest Recovery Service, Inc. is not the prevailing party at the conclusion of any such appeals, all
of the fees awarded to it shall be remitted."  We remand the cause to the trial court for entry of
judgment in accordance with the settlement agreement of the parties.



					                                                                                   					Jan P. Patterson, Justice

Before Justices Kidd, Patterson and Puryear

Vacated and Remanded on Joint Motion

Filed:   March 7, 2002

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